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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Minnesota Chamber of Commerce, a                File No. 23-cv-2015 (ECT/JFD)
 Minnesota nonprofit corporation,

                      Plaintiff,

 vs.                                                        ORDER

 John Choi, in his official capacity as County
 Attorney for Ramsey County, Minnesota;
 George Soule, in his official capacity as
 Chair of the Minnesota Campaign Finance
 and Public Disclosure Board; David Asp, in
 his official capacity as Vice Chair of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Carol Flynn, in her
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Margaret Leppik, in her
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Stephen Swanson, in his
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; and Faris Rashid, in his
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board,

        Defendants.


       The Campaign Legal Center filed a motion for leave to file an amicus brief with

respect to the parties’ cross-motions for summary judgment. ECF No. 142. Based on all

the files, records, and proceedings herein, IT IS ORDERED THAT the Campaign Legal

Center’s Motion for Leave to File an Amicus Brief [ECF No. 142] is GRANTED as

follows:
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      1.        The Campaign Legal Center may file an amicus brief on or before August

16, 2024; and

      2.        The Campaign Legal Center’s amicus brief shall be no more than

5,000 words.


Dated: August 8, 2024                           s/ Eric C. Tostrud
                                                Eric C. Tostrud
                                                United States District Court




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